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                                           Certificate Number: 00927-FLS-DE-029102936
                                           Bankruptcy Case Number: 17-12030


                                                        00927-FLS-DE-029102936




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on April 17, 2017, at 10:55 o'clock PM EDT, Janice Harris Day
completed a course on personal financial management given by internet by 247
Bankruptcy Class, Inc., a provider approved pursuant to 11 U.S.C. § 111 to
provide an instructional course concerning personal financial management in the
Southern District of Florida.




Date:   April 18, 2017                     By:      /s/OLIVIA MARTINEZ for RICHARD A GARCIA


                                           Name: RICHARD A GARCIA


                                           Title:   PRESIDENT and INSTRUCTOR
